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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

  IN RE:                                              §
                                                      §
  THE GATEWAY VENTURES, LLC,                          §      CASE NO. 21-30071-HCM
                                                      §
  REORGANIZED DEBTOR.                                 §      CHAPTER 11


                                   NOTICE OF DEFAULT
                              BY THE GATEWAY VENTURES, LLC
                               (DOC ## 231, 245, 246 AND 278)
                                       ($100,000.00)
  TO THE HONORABLE BANKRUPTCY JUDGE H. CHRISTOPHER MOTT:

         COME NOW WESTAR INVESTORS GROUP, LLC (hereinafter referred to as

  “WESTAR”), creditors and parties-in-interest in the above captioned proceedings, by and

  through the undersigned counsel, and hereby file this “Notice of Default by The Gateway

  Ventures, LLC (DOC ## 231, 245, 246 and 278)” (“Notice”), and in support of this Notice

  respectfully notify the Court that Reorganized Debtor, The Gateway Ventures, LLC (“TGV”) has

  breached the terms and is in default, as follows:

         1.      On October 5, 2021, a Final Order Granting Emergency Motion of Debtor To

  Assume and Enforce Westar Subscription Agreement and Grant Related Relief (RE: Docket No.

  219) (“Final Order”), was signed and filed. (DOC #231).

         2.      On October 15, 2021, this Court signed and filed an “Order (I) Approving First

  Amended Disclosure Statement In Support Of Plan Of Reorganization Of The Gateway Ventures

  LLC Dated September 1, 2021 And (II) Confirming First Amended Plan Of Reorganization As

  Modified Of The Gateway Ventures LLC Dated October 14, 2021 (Re: Docket Nos. 155, 245)”

  (“Confirmation Order”) (DOC #246). The Confirmation Order required TGV to, inter alia, pay
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  $100,000.00 in one lump sum to WESTAR, within forty-five (45) days of the Effective Date of

  the Plan of Reorganization.

            3.        On October 18, 2021, Debtor filed its “Notice of Effective Date of Confirmed

  Chapter 11 Plan of Reorganization (Re: Docket Nos 245, 246), therein providing that the

  Effective Date of the Plan was October 18, 2021. (DOC #251).

            4.        On November 30, 2021, as a meet and confer, WESTAR requested a second time

  that TGV inform WESTAR as to whether TGV will be paying WESTAR the lump sum payment

  of $100,000 on or before December 2, 2021, which was within forty-five (45) days of the

  Effective Date of the Plan of Reorganization, as required in the Confirmation Order approving

  the First Amended Plan. (DOC #246).

            5.        TGV responded with numerous excuses, none of which provided a date certain as

  to when TGV intended to pay WESTAR the $100,000.00 lump sum payment.

            6.        Accordingly, on December 22, 2021, WESTAR filed an “Emergency Motion To

  Enforce The Chapter 11 Plan, and Award Other Miscellaneous Relief” and a “Motion To

  Expedite Hearing Date On Emergency Motion To Enforce The Chapter 11 Plan, and Award

  Other Miscellaneous Relief.” (DOC #262 and DOC #263).

            7.        On January 13, 2022, the expedited hearing on the “Emergency Motion To

  Enforce The Chapter 11 Plan, and Award Other Miscellaneous Relief” was held.

            8.        On same date, January 13, 2022, an “Order Regarding Westar Investors Group,

  LLC, Suhail Bawa, and Saleem Makani’s Emergency Motion To Enforce The Chapter 11 Plan,

  and Award Other Miscellaneous Relief” was entered by this Court (“Order To Enforce The

  Plan”), which ordered, adjudged and decreed, in pertinent part, that (a) TGV pay the lump sum




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  payment of $100,000 to WESTAR by January 31, 2022, and (b) TGV shall make no payment of

  attorney’s fees until after January 31, 2022. (DOC #278).

            9.        On January 31, 2022, per Mr. Carruth’s request, the undersigned emailed to Mr.

  Carruth bank wiring instructions for payment of the $100,000.

            10.       As of this date, TGV has still not provided WESTAR with the lump sum payment

  of $100,000.

            11.       As of this date, TGV is past due in making payment of the $100,000.00 by a

  period of sixteen (16) days, and has made no effort whatsoever to contact the undersigned

  counsel.

            12.       TGV is thus once again in violation of (a) the Plan, and (b) the Confirmation

  Order, as well as (c) the Order To Enforce The Plan.

            13.       TGV is thus once again in default of (a) the Plan, and (b) the Confirmation Order,

  as well as (c) the Order To Enforce The Plan.

            14.       Therefore, Notice is hereby given that TGV is in default and in violation of the (a)

  the Plan, and (b) the Confirmation Order, and (c) the Order To Enforce The Plan.

  March 3, 2022                                              Respectfully submitted,

                                                             THE NEVAREZ LAW FIRM, PC
                                                             A Professional Corporation
                                                             7362 Remcon Circle
                                                             El Paso, Texas 79912
                                                             Telephone: (915) 225-2255
                                                             Facsimiles: (915) 845-3405
                                                             Email: MNevarez@LawOfficesMRN.com

                                                             /s/ Michael R. Nevarez
                                                             By: MICHAEL R. NEVAREZ
                                                             State of Texas Bar No. 14933400

                                                             Attorney for WESTAR INVESTORS GROUP, LLC,
                                                                      SUHAIL BAWA, and SALEEM MAKANI

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                                              CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing NOTICE OF DEFAULT

  BY THE GATEWAY VENTURES, LLC (DOC ## 231, 245, 246 and 278) ($100,000.00)

  was served either by electronic means as listed on the Court's CM/ECF filing and noticing

  system, and/or by regular first-class mail, postage prepaid, to all creditors listed on the Debtors’

  creditor's matrix, and to the following parties in interest, on or before March 3, 2022:

                                           ATTORNEYS FOR DEBTOR:
                                           Jeff Carruth
                                           Weycer Kaplan Pulaski & Zuber, P.C.
                                           25 Greenway Plaza, #2050
                                           Houston, TX 77046
                                           Email: jarruth@wkpz.com



                                                                     /s/ Michael R. Nevarez
                                                                     MICHAEL R. NEVAREZ




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